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                      IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

              v.
                                                           Case No. 21-cr-0038 (CRC)
RICHARD BARNETT,

                     Defendant.




              PROPOSED ORDER SETTING CONDITIONS OF RELEASE


   This matter having come before the Court and upon consideration of the Defendant’s April 5,

2021, Motion to Modify Bail Conditions and corresponding exhibits, the Government’s

Opposition, Defendant’s Reply, and hearing on the motion

   IT IS ORDERED that the Defendant’s Motion is hereby granted, and the Defendant

released on his own recognizance.



   Dated:     April ___, 2021



                                                  _______________________________
                                                  HON. CHRISTOPHER R. COOPER
                                                  UNITED STATES DISTRICT JUDGE
